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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                      19-cr-931 (WHP)
  Kamel Osborne,
                                                                           ORDER
                        Defendant.



WILLIAM H PAULEY III, District Judge:

       A change of plea is scheduled in the above-captioned matter for October 19, 2020 at 2:00

p.m. A publicly-accessible audio line is available by dialing 917-933-2166, entering participant

code 504276486.

       If the Court must transition to its teleconference line, a publicly-accessible audio line will

be available by dialing (888) 363-4749, and entering Access Code 3070580.


 Dated: October 16, 2020
        New York, New York
